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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES – GENERAL

Case No. 2:21-cv-00591-CAS (MAA)                                           Date: November 22, 2021
Title         David Paul Guerrero v. Theresa Cisneros


Present:     The Honorable MARIA A. AUDERO, United States Magistrate Judge


                   Narissa Estrada                                          N/A
                    Deputy Clerk                                   Court Reporter / Recorder

           Attorneys Present for Petitioner:                  Attorneys Present for Respondent:
                        N/A                                                 N/A

Proceedings (In Chambers):           Order to Show Cause Re: Dismissal for Lack of Prosecution

        Petitioner is ordered to show cause, in writing, no later than December 22, 2021, why this
action should not be dismissed for lack of prosecution.

       If Petitioner files the following on or before the above date, the Order to Show Cause will be
discharged, and no additional action need be taken.

        ☐        Proof of service of the summons and complaint
        ☐        Amended complaint
        ☒        Rhines Stay Status report
        ☐        Written response to the Court’s attached order (order attached)
        ☐        Notice of voluntary dismissal (form attached)

       Petitioner is cautioned that failure to respond to this Order may result in dismissal of
the Petition without prejudice for failure to prosecute and/or failure to comply with a court
order pursuant to Federal Rule of Civil Procedure 41(b). See C.D. Cal. L.R. 41-1.

        It is so ordered.




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